Case 1:04-cv-01018-.]DT-STA Document 32 Filed 06/16/05 Page 1 of 2 Page|D 29

 

 

 

IN THE UNITED STATES DISTRICT COURT /£7[£[/)@;/ §
FOR THE WESTERN DISTRICT OF TENNESSEE 0£_ ` ‘~ `
wEsTERN DIvIsIoN ‘ d J.§/;§; / §§
JESSE HARRIS, )
) / / f
Plaimiff, ) ab
) " ‘=€a f
v. ) No.= 04-1018 -T-An O/V
)
FRED RANEY, et al., )
)
Defendants. )
RULE 16(b) SCHEDULING ORDER
After a review of the pleadings in this case, the court has determined that this order
should be entered for the purposes of scheduling dates for the completion of certain pre-trial
activities; the following dates are established as the final dates fort
FILING MOTIONS T() JOIN PARTIES: September 15, 2005
FILING MOTIONS TO AMEND PLEADINGS: September 15, 2005
C()MPLETING ALL DISCOVERY: November 18, 2005
pursuant to Rules 26-35 and Rule 37
of the Federal Rules of Civil Procedure
FILING PRE-TRIAL MOTIONS of any kind
including Motions for Summary .]udgment: December 16, 2005
This order will not be modified except upon showing of good cause.
IT IS SO ORDERED.
SS_/M
S. THOMAS ANDERSON
UNI IED STATES MAGISTRATE JUDGE
Date: 209 "
This document entered on the docket sheet ln compliance
with mile 53 and:or_rs (a) FncP on _QLL_|_`l_C_§_ >\
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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 32 in
case 1:04-CV-010]8 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

